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           Thomas Eugene Creech v. Idaho Commission of Pardons and Parole, et al.
                                                      Case No. 1:24-cv-00066-AKB
                                  Filed in Support of Motion to Expedite Discovery




                   EXHIBIT 4
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From:            Olivia Craven
To:              Mark Warbis
Subject:         Re: Commutation Petition Decision: Paul Ezra Rhoades
Date:            Monday, November 07, 2011 1:17:27 PM


thanks, Mark. I know that Paul Panther with the AG's office is concerned we are going to do something
wrong. I don't think the press will ask anything about it, but I wanted to be prepared. I will do what
you say and nothing more.
oc

>>> Mark Warbis <Mark.Warbis@gov.idaho.gov> 11/7/2011 12:10 PM >>>
Just say please that he received it. Nothing more. We're not going to make affirmative statements at
each step. I'll let you know if that changes. Thanks.
Mark Warbis
Communications Director
Governor C.L. "Butch" Otter
(208) 334-2100/891-2790
Mwarbis@gov.idaho.gov

From: Olivia Craven [mailto:OCRAVEN@idoc.idaho.gov]
Sent: Monday, November 07, 2011 12:07 PM
To: Mark Warbis
Subject: RE: Commutation Petition Decision: Paul Ezra Rhoades

Thanks. If questioned, is it okay to say the Governor supported the decision? I want to be correct. If
no one asks, I am not saying anything. Paul Panther is the one who is concerned. I have a phone call
from him and am getting ready to call him.

Just talked to Jeff Ray and I am going to get something to eat and then we are submitting the press
release. I didn't want to be unavailable when people started calling.
oc

>>> Mark Warbis <Mark.Warbis@gov.idaho.gov> 11/7/2011 11:23 AM >>>

We don’t expect to have any kind of formal letter today. The Governor is considering a statement I’ve
drafted for him, expressing his thanks to the Commission, etc. I’ll send that to you once it’s approved.
There may be a more formal letter to the Commission later, but that’s something we can address
later. Thanks Olivia.



Mark Warbis
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Senior Special Assistant - Energy and Economic Development
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From: Olivia Craven [mailto:OCRAVEN@idoc.idaho.gov]
Sent: Monday, November 07, 2011 11:15 AM
To: Mark Warbis
Subject: RE: Commutation Petition Decision: Paul Ezra Rhoades



One more thing: I need to know if the Governor is going to issue the Commission a letter supporting the
decision. I would like that taken care of before I issue the press release.
Thanks. oc

>>> Mark Warbis <Mark.Warbis@gov.idaho.gov> 11/7/2011 11:03 AM >>>

Here’s the draft press release to go through Jeff. Please let me know if it works for you and when you
are ready to issue it. Thanks.



         (BOISE) – The Idaho Commission of Pardons and Parole decided
on Friday, November 4, to deny the petition for a commutation hearing
submitted on behalf of Paul Ezra Rhoades, who was sentenced to death
for the 1987 murders of Susan Michelbacher and Stacy Baldwin in
eastern Idaho’s Bonneville County.
         Governor C.L. “Butch” Otter received the Commission’s
recommendation on Monday, November 7.
         Seventh District Judge Jon J. Shindurling issued death warrants
for Rhoades on October 19. The execution is set for November 18.




Mark Warbis
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From: Olivia Craven [mailto:OCRAVEN@idoc.idaho.gov]
Sent: Monday, November 07, 2011 9:48 AM
To: Mark Warbis
Subject: RE: Commutation Petition Decision: Paul Ezra Rhoades



Thanks so much, Mark! This works perfect. I have a call from Channel 7. I will advise that we will be
issuing a release later. I will not talk to news media until we have done all of this. I will be bringing the
letter down to you in about a half hour if that works. I meant to ask you about the press release earlier
and did not, so thank you. (I was in a meeting/briefing so just got back to my office.)
Thanks.
Olivia

>>> Mark Warbis <Mark.Warbis@gov.idaho.gov> 11/7/2011 8:44 AM >>>

This looks fine Olivia. I will draft you the text of a brief press release that you should have Jeff Ray
issue to his media contacts for you. The Governor will have a statement, but we will only provide it to
those who ask. All this should happen this afternoon AFTER we’ve had the chance to review
everything with the Governor. Does that work?

Mark Warbis
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Senior Special Assistant - Energy and Economic Development
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Sign up to receive regular updates from Governor Otter




From: Olivia Craven [mailto:OCRAVEN@idoc.idaho.gov]
Sent: Monday, November 07, 2011 8:20 AM
To: Mark Warbis
Subject: Commutation Petition Decision: Paul Ezra Rhoades



Attached is the letter we discussed. Please advise me of any changes you want me to make. Once you
approve, I will put on letterhead and bring to your office.

As I noted previously, Paul Panther believes the one sentence in the statute (I.C. 20-240), indicates the
Governor should also approve our decisions on the Commutation or Pardon Petitions. We need to meet
with him after this process to clear this up. I do not think that was the intent of the writers of the
statutue, but I do agree with Paul, that there is "gray" area in the one sentence.

Please let me know what changes you want to make to the letter.
Olivia
